AO 442 (Rev. 11/11) Arrest Warrant



                                        UNITED STATES DISTRICT COURT
                                                                   for the
                                                        DISTRICT
                                                    __________   OF COLORADO
                                                               District of __________

                  United States of America
                             v.                                      )
                       BRADLEY BUNN                                  )        Case No.    20-mj-00054
                                                                     )
                                                                     )
                                                                     )
                                                                     )
                            Defendant


                                                       ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)      Bradley Bunn                                                                                         ,
who is accused of an offense or violation based on the following document filed with the court:

’ Indictment              ’ Superseding Indictment          ’ Information        ’ Superseding Information             ✔ Complaint
                                                                                                                       ’
’ Probation Violation Petition              ’ Supervised Release Violation Petition        ’ Violation Notice          ’ Order of the Court

This offense is briefly described as follows:
  The Court has previously ordered that the Defendant be released to a halfway house. The Court has been informed that
  no facility will accept the Defendant. The United States has moved orally for short-term detention until a detention hearing
  can be held at the earliest possible time. The Court finds that based on the Complaint in this case and the information
  submitted by the U.S. Probation Office and the U.S. Attorney's Office, the oral motion of the United States, along with the
  failure of the condition that the Court imposed in the release order, that Mr. Bunn must remain in detention pending a
  further detention hearing on Monday, May 18, 2020 at 11:00 a.m. SO ORDERED.


Date:         05/14/2020
                                                                                            Issuing officer’s signature

City and state:                   Denver, CO                                  Michael E. Hegarty, U.S. Magistrate Judge
                                                                                              Printed name and title


                                                                   Return

           This warrant was received on (date)                           , and the person was arrested on (date)
at (city and state)                                            .

Date:
                                                                                           Arresting officer’s signature



                                                                                              Printed name and title
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                      This second page contains personal identifiers provided for law-enforcement use only
                      and therefore should not be filed in court with the executed warrant unless under seal.

                                                      (Not for Public Disclosure)

Name of defendant/offender:
Known aliases:
Last known residence:
Prior addresses to which defendant/offender may still have ties:


Last known employment:
Last known telephone numbers:
Place of birth:
Date of birth:
Social Security number:
Height:                                                                Weight:
Sex:                                                                   Race:
Hair:                                                                  Eyes:
Scars, tattoos, other distinguishing marks:



History of violence, weapons, drug use:


Known family, friends, and other associates (name, relation, address, phone number):


FBI number:
Complete description of auto:


Investigative agency and address:


Name and telephone numbers (office and cell) of pretrial services or probation officer (if applicable):



Date of last contact with pretrial services or probation officer (if applicable):




          Print                       Save As...                                                                Reset
